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Case 3:13-cv-04405-G-BN Document 11 Filed 12/16/13 Page1of1i PagelD 41

IN THE UNITED STATES DISTRICT COURT 6 ANI bs
FOR THE DISTRICT OF TEXAS 2013 DEC |

 

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Joe Hunsinger JEPUTY CLERK pm
Plaintiff Pro-Se’ Case No: 3-13-CV-4405-G
Vv

GLASS MOUNTAIN CAPITAL, LLC.

NOTICE OF SETTLEMENT

COMES NOW the Plaintiff, hereby states as follows:
1. The Plaintiff and the Defendant Glass Mountain Capital, LLC. have
reached a settlement.
2. The Parties will be filing an Order of Dismissal with Prejudice once the
settlement terms have been completed by the Parties. The Parties expect
this to happen by December 20, 2012.

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Joe oi
7216 C.F. Hawn Frwy.

Dallas, Texas 75217
Joe75217@gmail.com
214-682-7677

Respectfully submitted December [ 3 , 2013.

 

CERTIFICATE OF SERVICE

I hereby certify that a copy of the forgoing has been served upon the Defendant Glass
Mountain Capital, LLC. on December | 5 2013

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